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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH DAKOTA
                                                                         FILED8
                                  SOUTHERN DIVISION                      stEP 0 3 2DO:
  **********************************************************~~***~~l
                                              *
  UNITED STATES OF AMERICA,           *     CR 07-40055-04
                                      *
              Plaintiff,              *
                                      *
          vs.                         *        AMENDED ORDER
                                      *
  DOMINIQUE RIGGINS,                  *
  a/kJa "G",                          *
                                      *
              Defendant.              *
                                      *
  *****************************************************************************
         The Defendant Dominique Riggins, a/kJa "G", has moved for an Examination to Determine
  Competency and a Continuance of Sentencing, Doc. 1182. The Government has now likewise made
  a Motion for a Competency Examination, Doc. 1186.
         The Motion to Continue Sentencing is granted and the sentencing will be rescheduled, if
  appropriate, after the competency examination.
         The defense moved for a local examination and the Government moved that the Defendant
  be examined at a Government facility. The examination pursuant to 18 U.S.c. §§ 4241 and 4242(a)
  will take place at a Government facility. Accordingly, good cause appearing,

         IT IS ORDERED:

         1.     That the Motion to Continue Sentencing, Doc. 1182, is granted.

         2.     That the Defendant's Motion for Examination to Determine Competency,
                Doc. 1182, and the Government's Motion for Competency Examination,
                Doc. 1186, are granted.

         3.     That Defendant is committed to the custody of the Attorney General, and that
                the United States Marshal's Service shall transport the Defendant to such
                Bureau of Prisons facility as is capable of performing such psychological
                examination and preparing such report as required pursuant to 18 U.S.c.
                § 4247(b) and (c), or, in the alternative to such private facility with like
                capability, and further that after examination a report be prepared pursuant
                to 18 U.S.c. § 4247(b) and (c) and that the report address:
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               (A)      Whether the Defendant is presently suffering from a mental disease
                        or defect rendering him mentally incompetent to the extent that he is
                        unable to understand the nature and consequences of the proceedings
                        against him or to assist properly in his defense;

               (B)       Whether the Defendant as a result of severe mental disease or defect
                         was unable to appreciate the nature and quality or wrongfulness of
                         the act as alleged in the pending Indictment.

        4.     That the terms of 18 U.S.c. § 4247(b) and (c) shall be complied with. The
               evaluating professional shall contact the Court with his or her preliminary
               opinion(s) as soon as the evaluation has been completed. The evaluation
               report shall be completed and forwarded to the Court on or before fifty (50)
               days after Defendant's arrival at the examining facility. The United States
               Marshal's Service is ordered to ensure Defendant remains at the evaluating
               facility until further Order of the Court.

        Dated this   --.1Lt!day of September, 2008.
                                               BY THE     COURTtPLu~
                                                                                      -
                                                     rence L. Piersol
  ATTEST:                                          ited States District Judge
  JOSEPH HAAS, CLERK

  BY:tjluulflna,~
                        (QEPUTY




      NOTE TO THE UNITED STATES MARSHAL AND THE BUREAU OF PRISONS:

         Defendant shall remain at the evaluating facility until further Order of the Court.
